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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DAVID BAUER,
Plaintiff,
CASE NO.:
v.

KOHL’S DEPARTMENT STORES, INC.,

Defendant.
/

 

DEFENDANT KOHL’S DEPARTMENT STORES, INC.’S
NOTICE OF REMOVAL OF CIVIL ACTION

Pursuant to 28 U.S.C. §§ 1332, l44l, 1446, and 1453, and M.D. Fla. Local Rule 4.02,
Defendant, KOHL’S DEPARTMENT STORES, INC. (“Kohl’s” or “Defendant”), respectfully
submits this Notice of Removal of Civil Action from the Circuit Court of the Thirteenth Judicial
District in and for Hillsborough County, Florida, to the United States District Court for the
Middle District of Florida. In support of this Notice of Removal, Kohl’s states as folloWs:

1. Plaintiff, DAVID BAUER (“Plaintifi”), filed this civil action against Kohl’s on
or about December l3, 2013, in the Circuit Court of the Thirteenth Judicial District in and for
Hillsborough County, Florida, entitled Davia’ Bauer v. Kohl ’s Department Stores, [nc., Case No.
l3-CA-015168, Division H.

2. Defendant Was served With a Summons and a copy of the Cornplaint on
December l7, 2013.

3. Pursuant to 28 U.S.C. § l446(a) and M.D. Fla. Local Rule 4.02(a), true and
accurate copies of documents constituting all the process, pleadings, orders, and other papers

served on Kohl’s are attached hereto as Exhibit “A”.

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4. This action is removable to this Court, and this Court has federal question
jurisdiction over this action, because the controversy arises “under the Constitution, laws, or
treaties of the United States.” 28 U.S.C. §§ 1331, l44l(c)(l)(A). Specifically, Plaintiffs
Complaint alleges that Kohl’s made calls to the Plaintiff using an automatic telephone dialing
system under the Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et. seq. (“TCPA”).
This Court has subject-matter jurisdiction over TCPA claims. Mz'ms v. Arrow Fin. Servs., LLC,
132 S. Ct. 740, 753 (2012).

5. This Court also has supplemental jurisdiction according to 28 U.S.C. § l367(a)
over Plaintiffs two additional state law claims alleging negligence and invasion of privacy.
Such claims are so related to Plaintiffs federal claim that they form part of the same case or
controversy.

6. On this date, a copy of this Notice of Removal has been served upon Plaintiff.
Defendant will also promptly file a copy of this Notice of Removal with the Clerk of the
Thirteenth Judicial Circuit Court in and for Hillsborough County, Florida. A true and accurate
copy of Defendant’s Notice of Filing Notice of Removal of Civil Action is attached hereto as
Exhibit “B”.

7. This notice was filed within thirty (30) days of Defendant’s receipt of Plaintiff s
Complaint, and therefore this Notice of Removal has been timely filed.

WHEREFORE, Defendant, KOHL’S DEPARTMENT ` STORES, INC., respectfully
requests that this matter proceed in this Court as a properly removed action,

Dated this 16th day of January, 2014.

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Respectfully Submitted,

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Cmene E. Lee

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Defendant Kohl’s Department Stores, Inc.’s

Notice of Removal of Civil Action was served via email this 16th day of January, 2014, upon the

following:

Christina M. Cowart
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